         Case 1:15-cr-10145-RGS Document 678 Filed 09/05/17 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                              )
                                                       )
v.                                                     )     CRIMINAL NO. 15-cr-10145-RGS
                                                       )
VANDELL WOODS,                                         )
                      Defendant.                       )


             MOTION TO BE RETURNED TO NEW YORK STATE CUSTODY
                                             (assented to)

       Defendant, Vandell Woods, hereby moves this Honorable Court to continue the trial date

in this case. Trial is currently scheduled to commence on November 6, 2017 and to continue

through November 17, 2017.

       As reasons therefore, the Defendant states that his counsel, the undersigned, is scheduled

to represent the defendant in Commonwealth v. Richard Haugh, a rape of a child case where the

defendant is incarcerated awaiting trial, at Middlesex Superior Court on the same date. This trial

is scheduled to begin on November 6, 2017, is expected to involve expert testimony, and to last

approximately two weeks.

       The trial date in the Haugh matter was scheduled in April, 2017, before the trial date in

this case, which was set on July 21, 2017.

       In contrast to the defendant in the Haugh matter, Mr. Woods is currently serving a state

prison sentence in New York, with an anticipated release date in late 2019, and will not be

prejudiced by any delay.

       Undersigned counsel has consulted with the government regarding this request. The

government assents to this request for a continuance.
         Case 1:15-cr-10145-RGS Document 678 Filed 09/05/17 Page 2 of 2



       WHEREFORE, the Defendant requests the Court grant this motion, cancel the trial

scheduled for November 6, 2017 at to Mr. Woods, and reschedule the trial to a later date after

consultation with the clerk and the parties.


                                                      Respectfully submitted,
                                                      VANDELL WOODS,
                                                      By his attorney,



                                                      /s/ Ian Gold
                                                      Ian Gold (BBO# 665948)
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Date: September 5, 2017


                                 CERTIFICATE OF SERVICE

        I hereby certify that true copies of this document will be served on the registered parties
through the ECF system on this date, Sept. 5, 2017.

                                               /s/Ian Gold
                                               Ian Gold
